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Samuel Richard Rubin
FEDERAL PUBLIC DEFENDER
Melissa Winberg
Nicole Owens
FEDERAL DEFENDER SERVICES OF IDAHO
702 West Idaho Street, Suite 1000
Boise, Idaho 83702
Telephone: (208) 331-5500
Facsimile: (208) 331-5525

Attorneys for Defendant
ANNA IYERUSALIMETS


             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF IDAHO
                 (HONORABLE B. LYNN WINMILL)


UNITED STATES OF AMERICA, )              CR18-258-S-BLW
                          )
      Plaintiff,          )              DEFENDANTS’ NOTICE OF
                          )              INTENT TO INTRODUCE THE
  vs.                     )              EXPERT TESTIMONY OF BEN
                          )              LEVITAN
PAVEL BABICHENKO,         )
GENNADY BABITCHENKO,      )
PIOTR BABICHENKO,         )
TIMOFEY BABICHENKO,       )
KRISTINA BABICHENKO,      )
NATALYA BABICHENKO,       )
DAVID BIBIKOV,            )
ANNA IYERUSALIMETS,       )
MIKHAIL IYERUSALIMETS,    )
ARTUR PUPKO,              )
                          )
      Defendants.         )




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      The defendants 1 through their attorneys, pursuant to Federal Rule of

Criminal Procedure 16(b)(1)(C) notifies the Court and the government of their

intent to introduce expert testimony under Federal Rules of Evidence 702, 703,

and 705.

      The defendants intend to call Ben Levitan. Mr. Levitan is an expert in

the following fields: cellular, wireless, broadband internet and legacy

telephony, wireless, cellular and 3G/4G/LTE mobile phone systems, standards

and protocols and associated GPS, location-based systems and services,

wiretap and wireless 911. 2 Mr. Levitan has been working in the

telecommunications industry since 1984. He has been a developer of cellular

and wireless systems for more than 25 years. He currently works as a

consultant in wireless, mobile and broadband telephony. He formerly held the

position of Senior Manager of Global Technology Standards for Sprint

Communications, and Manager of Standards and Technology for Verizon. He

was a United States delegate to the United Nations committee on

telecommunications (ITU-T) for 12 years.

      As part of Mr. Levitan’s industry experience, he developed services (and

hold patents) in cell phone technology that determine the location of a cell



1 This Notice is filed on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr
Babichenko, Timofey Babichenko, David Bibikov, Anna Iyerusalimets, and Mikhail
Iyerusalimets, recognized collectively as the defendants.
2 Mr. Levitan’s curriculum vitae is attached as Exhibit A.



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phone. Further, he worked for the telephone industry developing the data

collection systems used in every telephone system operated in the United

States. As such he is knowledgeable as to how data is created for each use of a

cell phone. Mr. Levitan received Sprint/Nextel’s Top Innovator Award and has

ten published patents, 32 patent applications submitted, four trade secrets

developed and held by Sprint, and one patent published and personally held.

All his patents are in the field of cellular telephone systems and technology.

Mr. Levitan is a certified NENA professional (2017) and has expertise and

holds patents in the area of 911 technology. Mr. Levitan is the author of several

books and articles regarding Wireless, Cellular, GPS and Satellite technology.

He is a regular contributor to major network and cable news outlets as an

expert in the field of cellular telephones.

      Mr. Levitan has served as an expert witness in federal and state courts

and has testified in civil, criminal, and administrative matters involving

telephonic and other digital evidence. Mr. Levitan has the skill to explain to

the triers of the fact, the design and operation of the world wide cellular

network and how elements of the network, including the phone itself, inter-

operate with each other to enable telecommunications services. From his

experience and background he is aware of technical design, standards and

operation of cellular networks. Mr. Levitan has been a key developer of the

United States and worldwide cellular system for more than 25 years, being


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experienced in the design of mobile systems and GPS systems and having

previous experience in the evaluation of cell phone evidence. He is abundantly

familiar with the design aspects and the core functionalities of cellular

telephones.

      In preparation for his testimony, Mr. Levitan has conducted a detailed

review of relevant documents produced by the government in discovery,

including cell phone information and records, government reports and

memorandums, investigative reports, grand jury testimony, and the

determinations by the trademark holders. He also has reviewed a portion of

the physical evidence that will be used by the government at trial.

      Mr. Levitan is expected to testify, among other things, regarding:

   1. His education and professional background, specifically his experience

      conducting analyses of the system design of cell phones and network

      interoperation and analysis;

   2. A general description of design and function of cell phone networks

      including detailed descriptions of the interworking of devices with the

      standardized worldwide network;

   3. His opinion as to how the phones in this case would have operated or

      functioned within the cell phone network; and

   4. The core elements of cell phone design as it relates to the cell phones at

      issue in this case.


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      The Defendants reserve the right to supplement the Notice as warranted

prior to trial.

Dated: March 1, 2020

Respectfully submitted,
                                    SAMUEL RICHARD RUBIN
                                    FEDERAL PUBLIC DEFENDER
                                    By:

                                    /s/ Samuel Richard Rubin
                                    Samuel Richard Rubin
                                    Federal Public Defender
                                    Melissa Winberg
                                    Nicole Owens
                                    Federal Defender Services of Idaho
                                    Attorneys for Defendant
                                    ANNA IYERUSALIMETS




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                       CERTIFICATE OF SERVICE

     I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document, DEFENDANTS’ NOTICE

OF INTENT TO INTRODUCE THE EXPERT TESTIMONY OF BEN

LEVITAN with Exhibit A, was served on all parties named below on this 1st

day of March, 2020.

Kate Horwitz, Assistant United States Attorney
Office of the United States Attorney                Hand Delivery
Washington Group Plaza, IV                          United States Mail
800 Park Blvd., Suite 600                      X    CM/ECF Filing
Boise, ID 83712                                     Email Transmission
Kate.Horwitz@usa.doj.gov


John Charles DeFranco                               Hand Delivery
Ellsworth, Kallas & DeFranco, PLLC                  United States Mail
1031 E. Park Blvd.                              X   CM/ECF Filing
Boise, ID 83712                                     Email Transmission
jcd@greyhawklaw.com


Jeffrey Brownson                                    Hand Delivery
Law Office of Jeffrey Brownson                      United States Mail
223 North 6th Street, Suite 215                 X   CM/ECF Filing
Boise, ID 83702                                     Email Transmission
jb@jeffreybrownsonlaw.com


Paul E. Riggins                                     Hand Delivery
Riggins Law                                         United States Mail
POB 5308                                       X    CM/ECF Filing
Boise, ID 83705                                     Email Transmission
rigginslaw@gmail.com




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Rob S. Lewis                                       Hand Delivery
960 Broadway #210                                  United States Mail
Boise, ID 83701                                X   CM/ECF Filing
office@roblewislaw.com                             Email Transmission

Greg S. Silvey                                     Hand Delivery
PO Box 5501                                        United States Mail
Boise, ID 83705                                X   CM/ECF Filing
greg@idahoappeals.com                              Email Transmission

J D Merris                                         Hand Delivery
Merris and Naugle                                  United States Mail
913 W. River St. 420                           X   CM/ECF Filing
Boise, ID 83702                                    Email Transmission
jmerris@cableone.net

Robyn Fyffe                                        Hand Delivery
Fyffe Law                                          United States Mail
PO Box 5681                                    X   CM/ECF Filing
Boise, ID 83705                                    Email Transmission
robyn@fyffelaw.com

Ellen Nichole Horras Smith                         Hand Delivery
5561 N. Glenwood St.                               United States Mail
Boise, ID 83714                                X   CM/ECF Filing
ellen@smithhorras.com                              Email Transmission


Dated: March 1, 2020              /s/ Melissa Winberg
                                  Melissa Winberg




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